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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOI

EASTERN DIVISION
In re: ) Chapter 11
)
BCause Mining LLC, )
) Judge Janet S. Baer
Debtor/Debtor-in-Possession. )

) Case No. 19-10562

NOTICE OF MOTION

TO: ATTACHED SERVICE LIST

PLEASE TAKE NOTICE that on the 11" day of June, 2019, at 9:30 a.m., or soon
thereafter as counsel can be heard, I shall appear before the Honorable Janet S. Baer,
Bankruptcy Judge, in the room usually occupied by him as Courtroom 615 in the United
States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219 S.
Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in his
place and stead and shall present the Motion for Authority to Reject Office Lease as of
August 1, 2019, a copy of which is attached hereto and herewith served upon you, and
shall pray for the entry of an Order in compliance therewith.

AT WHICH TIME and place you may appear if you so see fit.

/s/Scott R. Clar

Crane, Simon, Clar & Dan
135 S. LaSalle St., Ste. 3705
Chicago, Illinois 60603
(312) 641-6777

CERTIFICATE OF SERVICE

The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served via the Court’s
Electronic Registration (ECF)/email (as indicated) or First Class U.S. Mail (where
indicated) on all parties listed on the attached Service List on the 31st day of May, 2019.

/s/Scott R. Clar

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SERVICE LIST

Via ECF

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Via First Class U.S. Mail
Greenwich Centre Investors, L.C.
Greenwich Centre

192 Ballard Ct.

Virginia Beach, VA 23462

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

In re: Chapter 11
BCause Mining LLC,
Debtor/Debtor-in-Possession.

Case No. 19-10562

)
)
)
) Judge Janet S. Baer
)
)
) Jointly Administered

MOTION FOR AUTHORITY TO REJECT OFFICE LEASE AS OF AUGUST 1, 2019

BCause LLC, a Virginia limited liability company, debtor/debtor-in-possession herein
(“Debtor”), by and through its attorneys, makes its Motion for Authority to Reject Office Lease
as of August 1, 2019 (“Motion”), pursuant to Section 365(g) of the Bankruptcy Code, and in
support thereof, respectfully states as follows:

INTRODUCTION

1. On April 12, 2019, the Debtor filed its voluntary petition for relief under Chapter
11 of the Bankruptcy Code (“Petition Date”).

2. The Debtor has been operating its business and managing its financial affairs as
debtor-in-possession since the Petition Date. No trustee, examiner or committee of unsecured

creditors has been appointed in the Debtor’s Chapter 11 case.

3. This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections 157
and 1334.
4, This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).
5. The statutory predicate for the relief requested in this Motion is Section 365(g) of

the Bankruptcy Code.
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6. By this Motion, the Debtor requests that this Court authorize it to reject a certain

office lease as of August 1, 2019, between the Debtor and Greenwich Centre Investors LC,

Virginia Beach, Virginia for certain real property located at Greenwich Centre, 192 Ballard

Court, Virginia Beach, Virginia (the “Office Lease”). The Office Lease expires April 30, 2021,

at a monthly rate of approximately $3,000.00. A copy of the Office Lease is attached hereto as
Exhibit A.

Relevant Factual Background

7, The Debtor, BCause Mining LLC, is a limited liability company formed in the
Commonwealth of Virginia in 2013. The Debtor, BCause LLC, is a holding company that
wholly owns and is the only member of BCause Mining LLC (“Mining”) (formed in 2017);
BCause Spot LLC (2017); BCause Derivatives LLC (2017); BCause Clear LLC (2017); BCause
Secure LLC (2018); and BCause Trust, Inc. (2018), each also formed in the Commonwealth of
Virginia. Each entity is in good standing in Virginia. The Debtor has operations in Virginia
Beach, VA and in Chicago, IL and employs 27 full-time and 4 part-time employees.

8. The Debtor is building a full-stack cryptocurrrency ecosystem which is intended
to be a venue that will serve as a one-stop shop for all parts of the digital currency value chain.
The various subsidiary entities are intended to serve professional traders, institutional investors,
retail traders, and bitcoin miners. No entity other than Mining and the Debtor are currently
operating.

9, The Debtor provides a state of the art mining facility in Virginia Beach, Virginia,
and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago, Illinois, 60661, and

192 Ballard Court, Virginia Beach, Virginia.
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10. Both the Debtor and Mining’s Chapter 11 filings were triggered by a judgment
entered in favor of WESCO in the approximate amount of $1,300,000 and a garnishment of the
Debtor’s bank account, from which all of the Debtor’s and Mining’s bills are paid, including
bills for utilities such as Dominion Energy, which had threatened a shut-off of Mining’s utilities
for non-payment, as of April 12, 2019.

The Office Lease

11. On February 22, 2018, the Debtor entered into an Office Lease with Greenwich
Centre Investors LC for space at 192 Ballard Court in the Greenwich Center in Virginia Beach,
Virginia (the “Premises”).

12. The Debtor’s administrative employees in Virginia are located at the Premises.

13. The Debtor is committed to reducing expenditures in its chapter 11 case, and as a
result, has determined that the Office Lease is an unnecessary expense.

Relief Requested

14. The Debtor requests the entry of an order authorizing it to reject the Office Lease
as of August 1, 2019.
15. Rejection of the Office Lease is in the best interest of the Debtor’s estate and its

creditors for the reason that an unnecessary expense will be eliminated.
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WHEREFORE, BCause LLC, a Virginia limited liability company, debtor/debtor-in-
possession, prays for the entry of an order rejecting that certain Office Lease between BCause
LLC and Greenwich Centre Investors, L.C. dated March 1, 2018, as of August 1, 2019, and
granting such other relief as this Court deems just and equitable.

BCause LLC, a Virginia limited
liability company,

By:/s/Scott R. Clar
One of its Attorneys

DEBTORS’ COUNSEL:

Scott R. Clar (Atty. No. 06183741)

Crane, Simon, Clar & Dan

135 S. LaSalle Street, Suite 3705

Chicago, Illinois 60603

312-641-6777

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